                                                                                                                                                                                                      Page:       1
                                       Case 17-45084-elm7            Doc 65          Filed 10/31/19 Entered 10/31/19 16:07:22                                  Desc Main
                                                                                     DocumentFORM  1
                                                                                                  Page 1 of 3
                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                     ASSET CASES
Case No:              17-45084                      ELM             Judge:        Edward L. Morris                              Trustee Name:                      Marilyn D. Garner, Trustee
Case Name:            Eg2 Mobile Technology, Llc                                                                                Date Filed (f) or Converted (c):   12/18/2017 (f)
                                                                                                                                341(a) Meeting Date:               01/24/2018
For Period Ending:    09/30/2019                                                                                                Claims Bar Date:                   05/07/2018


                                   1                                             2                             3                             4                          5                             6

                         Asset Description                                     Petition/                 Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                        Unscheduled             (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                               Values                 Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                               Assets
                                                                                                        and Other Costs)

  1. Gas Company deposit                                                                   250.00                     250.00                                                        0.00                        FA
  2. Accounts Receivable - Over 90 days old                                          708,467.50                    708,467.50                                                5,250.00                           FA
  3. Inventory                                                                       571,256.75                    571,256.75                                               46,725.00                           FA
  4. Real property leased - 4800 Alliance Gateway Freeway, Fort                              0.00                        0.00                                                       0.00                        FA
     Worth, TX 76177

     Suite 110, 4800 Alliance Gateway Freeway, Fort Worth, Texas,
     containing 26,769 rentable square feet, in the building
     commonly known as Gateway 15
  5. Checking account - BOA                                                                 26.33                        0.00                                                       0.00                        FA
  6. Checking account - Green Bank                                                         674.16                        0.00                                                       0.00                        FA
  7. Checking account - Shinhan                                                            466.05                     466.05                                                     466.05                         FA
  8. Furniture & Fixture                                                              23,492.00                     23,492.00                                                8,490.00                           FA
  9. Office Furniture & Equiptments                                                   11,297.00                     11,297.00                                               25,170.00                           FA
 10. Lexus ES300                                                                             0.00                        0.00                                                       0.00                        FA
 11. 2013 Nissan Sentra                                                                      0.00                        0.00                                                       0.00                        FA
 12. 2012 Nissan Sentra                                                                     41.00                        0.00                                                       0.00                        FA
 13. 2017 Toyota Corolla IM                                                                  0.00                        0.00                                                       0.00                        FA
 14. Leasehold improvement                                                                   0.00                        0.00                                                       0.00                        FA
 15. Air Compressor                                                                   12,278.25                     12,278.25                                                6,565.00                           FA
 16. Apex Polishing                                                                   78,293.35                     78,293.35                                                1,625.00                           FA
 17. Auto Clave                                                                       12,310.60                     12,310.60                                                2,755.00                           FA
 18. Cleanroom                                                                       134,560.78                    134,560.78                                                4,100.00                           FA
 19. Coating machine                                                                 162,051.16                    162,051.16                                                    950.00                         FA
 20. Conveyor Belts                                                                   17,084.13                     17,084.13                                                3,025.00                           FA
 21. Freezer Glass Removal                                                             3,825.00                      3,825.00                                                       0.00                        FA
                                                                                                                                                                                                        Page:         2
                                       Case 17-45084-elm7                Doc 65         Filed 10/31/19 Entered 10/31/19 16:07:22                                 Desc Main
                                                                                        DocumentFORM  1
                                                                                                     Page 2 of 3
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
Case No:              17-45084                         ELM            Judge:        Edward L. Morris                              Trustee Name:                      Marilyn D. Garner, Trustee
Case Name:            Eg2 Mobile Technology, Llc                                                                                  Date Filed (f) or Converted (c):   12/18/2017 (f)
                                                                                                                                  341(a) Meeting Date:               01/24/2018
For Period Ending:    09/30/2019                                                                                                  Claims Bar Date:                   05/07/2018


                                   1                                                2                            3                             4                          5                             6

                         Asset Description                                       Petition/                 Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled             (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                 Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                            Exemptions,                                                                               Assets
                                                                                                          and Other Costs)

 22. G & Tech Polishing                                                                  30,641.72                    30,641.72                                                    850.00                           FA
 23. Heat Dryer                                                                           5,757.11                     5,757.11                                                       0.00                          FA
 24. Laminating machine (1)                                                             193,281.10                   193,281.10                                                  1,026.66                           FA
 25. Laminating machine (2)                                                             161,208.50                   161,208.50                                                  1,026.67                           FA
 26. Laminating machine (3)                                                             158,500.00                   158,500.00                                                  1,026.67                           FA
 27. LCD Flex / Test Machine                                                             11,725.00                    11,725.00                                                    497.50                           FA
 28. Nitrogen Separator                                                                  10,103.13                    10,103.13                                                    945.00                           FA
 29. POL Machine                                                                          1,843.00                     1,843.00                                                       0.00                          FA
 30. Wire cutter                                                                          5,500.00                     5,500.00                                                       0.00                          FA
 31. OCA/Bezel Press Machine                                                             14,123.50                    14,123.50                                                    517.50                           FA
 32. Production chairs                                                                    1,258.40                     1,258.40                                                     75.00                           FA
 33. Conveyor Belt                                                                       17,084.13                    17,084.13                                                  2,050.00                           FA
 34. Preferential transfers made within 90 days before filing of                              0.00                   100,000.00                                                       0.00                   100,000.00
     bankruptcy case

     SOFA #3
 35. Void                                                                                     0.00                         0.00                                                       0.00                          FA
 36. Void                                                                                     0.00                         0.00                                                       0.00                          FA
 37. Void                                                                                     0.00                         0.00                                                       0.00                          FA


                                                                                                                                                                                   Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $2,347,399.65               $2,446,658.16                                                 $113,136.05                   $100,000.00
                                                                                                                                                                                   (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
                                                                                                                                                                              Page:   3
                                  Case 17-45084-elm7              Doc 65          Filed 10/31/19 Entered 10/31/19 16:07:22 Desc Main
Trustee has sold inventory and equipment of Debtor pursuant to Order of the Court.Document
                                                                                   Trustee made demand
                                                                                                   Page      3 of 3of accounts receivables from2 large customers, valued at
                                                                                                        for payment
$708,467.58 by Debtors. After analysis of proof of payments made, only $5,250.00 remained owing to the estate. Trustee is preparing the case for closing.




Initial Projected Date of Final Report (TFR): 12/31/2018        Current Projected Date of Final Report (TFR): 12/31/2020

Trustee Signature:      /s/ Marilyn D. Garner, Trustee     Date: 10/31/2019
                        Marilyn D. Garner, Trustee
                        2001 E. Lamar Blvd., Suite 200
                        Arlington, TX 76006
                        (817)505-1499
